 

 

Case 3:17-cv-12300-BRM-TJB Document 67 Filed 09/13/18

Page 1 of 3 PagelD: 138

McMORAN, O'CONNOR BRAMLEY & BURNS, PC

Ramshorn Executive Centre
2399 Highway 34

Bldg. D Suite D-1
Manasquan, New Jersey 08736
(732) 223-7711

Attorneys for Defendants,

Michael Fitzgerald and Teri O'Connor

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

JOHN CURLEY,
Plaintiff,
vs.

MONMOUTH COUNTY BOARD OF CHOSEN
FREEHOLDERS; SERENA DIMASO, in
her individual and official
capacity as Monmouth County
Chosen Freeholder; THOMAS
ARNONE, in his individual and
official capacity as Monmouth
County Chosen Freeholder; GARY
RICH, in his individual and
official capacity as Monmouth
County Chosen Freeholder;
LILLIAN BURY, in her individual
and official capacity as
Monmouth County Chosen
Freeholder; MICHAEL FITZGERALD,
ESQ., in his individual and
official capacity as County
Counsel; and TERI O’ CONNOR,
her individual and official
capacity as County
Administrator,

in

Defendants.

Civil Action No. 3:17-12300-BRM-

TIB

Civil Action

NOTICE OF MOTION TO DISMISS
PLAINTIFF’S SECOND AMENDED AND
SUPPLEMENTAL VERIFIED COMPLAINT

PURSUANT TO FEDERAL RULE OF

CIVIL PROCEDURE 12 (b) (6)

RETURN DATE: OCTOBER 15, 2018

ORAL ARGUMENT REQUESTED

 

 

TO: Angelo J. Genova,
Genova Burns, LLC

494 Broad Street

Esq.

 

2
 

Case 3:17-cv-12300-BRM-TJB Document 67 Filed 09/13/18 Page 2 of 3 PagelD: 13g

Newark, New Jersey 07102
Jonathan Testa, Esq.
O'Donnell McCord, PC

1725 Highway 35, Suite C
Wall, New Jersey 07719

COUNSEL:

Defendants Michael Fitzgerald, Esq. and Teri oO’Connor, in
their individual and official capacities as County Counsel and
County Administrator, respectively, through the undersigned,
move for an Order dismissing the Second Amended Complaint and
Supplemental Verified Complaint for failure to state a claim on
which relief can be granted pursuant to Federal Rule of Civil
Procedure 12({b) (6). Pursuant to Local Civil Rule 78.1,
plaintiff requests oral argument.

The grounds for this Motion are set forth in the
accompanying Brief and Certification of Michael F. O'Connor,
Esq.

Respectfully submitted,
McMORAN, O’CONNOR BRAMLEY & BURNS
Attorneys for defendants,

Michael Fitzgerald, Esq. and
Teri O’ Connor

By: (WA webawk I (D Cogmin

Michael F. O'Connor

Dated: September 13, 2018

 

 
 

Case 3:17-cv-12300-BRM-TJB Document 67 Filed 09/13/18 Page 3 of 3 PagelD: 1384

CERTIFICATE OF SERVICE

I hereby certify that on September 13, 2018, I served a
true and correct copy of the Notice of Motion to Dismiss the
Second Amended Complaint and Supplemental Verified Complaint for
Failure to State a Claim on Which Relief Can Be Granted, the
Brief in support thereof and the Certification of Michael F.
O'Connor and the proposed form of Order, by ECF upon:

Angelo J. Genova, Esq.

Genova Burns, LLC

494 Broad Street

Newark, New Jersey 07102

Attorneys for plaintiff, John Curley

Jonathan Testa, Esq.

O'Donnell McCord, PC

1725 Highway 35, Suite C

Wall, New Jersey 07719

Attorneys for defendants,

Monmouth County Board of
Chosen Freeholders, et als.

a

Michael F. O'Connor

Dated: September 13, 2018

 

 
